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                    UNITED STATES DISTRICT COURT
                        DISTRICT OF MINNESOTA
                 Criminal No. 04-100 (03) (RHK/AJB)

UNITED STATES OF AMERICA,          )
                                   )
                  PLAINTIFF,       )
            v.                     )    ORDER
                                   )
PATRICK IWAN,                      )
                                   )
                  DEFENDANT.       )

    WHEREAS,     on   September   22,   2005,    this    Court    entered    a

Preliminary Order of Forfeiture which included a money judgment

forfeiture in the amount of $1,170,000.00; and

    WHEREAS, Defendant Iwan was sentenced on October 12, 2005,

but no mention was made of the criminal forfeiture in the

written Judgment that was also entered on October 12, 2005; and

    WHEREAS, Fed. R. Crim. P. 36 provides this Court with

authority to correct a clerical error in a previously entered

judgment;

      NOW, THEREFORE, IT IS HEREBY ORDERED that the criminal

judgment in this action shall be amended to include as part of

Defendant Iwan’s sentence a money judgment forfeiture in the

amount of $1,170,000.00.

     LET JUDGMENT BE ENTERED ACCORDINGLY.



Dated: 11/4/05                    s/Richard H. Kyle
                                  RICHARD H. KYLE, Judge
                                  United States District Court
